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                     ORIGINAL                                                                                             ©           Li W     r:?\


                          CV18-1                                                                                                     Page 2
                                                                                                                                 2 2 I0I8
                                    PETITION UNDER 28 U.S.C.§ 2254 FOR WRIT OF
MAtSUMOTO,iABEAS CORPUS BY A PERSON IN STATE CUSTODVppQ                                                                              OFFllCE

                                                                             District
                United States District Court
                                                                                                      Docket or Case No.
    Name (under which you were convicted)
                                                                                                                 zbih^
                                                                                               Prisoner No.:
    Place of Confinement:
                                                                                                        O'l/VZIb^

    Petitioner (include the name under which you were convicted)                  Respondent(authorized person having custody of petitioner)

                               OdSiiph
    The Attorney General ofthe State of^
                                    \ar\t "T- SohA-e'ia-e^vwAi/i
                                                                PETITION



       (a)Name and location ofcourt that entered thejudgment ofconviction you are challe^ing
        vSv;|>rw\^ CcM^'                                A(A/I                                                       i/\aS>

        -?)'2LD         5.-Lrf-P7f ^                                                                  vrl^t
       (b)Criminal docket or case number(ifyou know): 'Z-b^^ 0%
       (O) V^riniuiai UU^Ik.Cl Ul ucux.' iiumuvi V"                           k      J   J    "     ——

    2. (a)Date of-the-Judgmentofconviction (if youjkno^:                           JUVle Z.A j ^—Jx2
       (b)Date ofsentencing: _
        \^V) L/ttlC KJl                         ^ / 1   1                r           ^
    3. .--r-                        ^                    (,-ilAyA^)                                                                      ^
    4. In this case, were you convicted on more than one counfor of more than one crime?                            Yes □
            ify all crimes of which you were convicted and sentenced iiUhis case:
    5. Identify
                Omt/irAffI w                                                                                 ■
                 r .i>x. g \2-^. Zd ftW )                                                         ^


    6. (a) What was your plea^ (Qheck one)
              (1)         Not guilty                               (3)            Nolo contendere (no contest)! I
               (2)        Guilty]                                  (4)            Insanity plea! I
         (b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge,
         what did you plead guilty to and what did you plead not guilty to?_
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    (c) Ifvou went to trial, what kind of trial did you have?(Check one)
         Jury               Judge only[m
7. Did you testify ateither a pretrial hearing, trial or a post-trial hearing?
       Ye/n No^
8. Did you appeal from the judgment of conviction?
       YesPCjNol I
9. Ifyou did appeal, answer the following:                 ^                         •    A         ,/   i
   (a)Na^e ofcourt:                 ll         INt)[si A/l'6er
    (b)Docket or case number(ifyou know):                      • Mo • 2^10'
    (c) Result: _
    (d)Date of result(if you know):                                  \ ^                  ^— ,
    (e)Citation to the case(if you know):                                        ^       A 1 i(\
    (f) Grounds raised:                                 \ AgxAA-VW/^/r~nniA ^ t^mTi
                            ov^                  \Ar.ii                                  r,)r\(^.r^-p pr^m
              PrACf>rni7)r"it>.l                                                     '>r\ vH^ls

      ... ■                                                                                                       .




             \ApferK7^                                    Pnyif^l
     (g) Did you seek further review by a higher state court? Yesly^lNol—|
         If yes, answer the follovdng:                     a           i
         (I)Name ofcourt: 0 (ft                           A-ppgA-lS
          (2)Docket or case number fif you know):
          (3)Result: _ .IViAtPfi f whr^
          (4)Date of result(if you know):         WlfcirCV\ ^^1
          (5) Citation to the case (if you know):
          (6)Grounds raised:                                               K/A


     (h)Did you file a petition for certiorari in the United States Supreme Court?              n^o^"
                                                                                              Yes


           If yes, answer the following:
          (1)Docket or case number (if you know):
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                                                                                                                  Page 4


        (2)Result:


        (3)Date of result(if you know):
        (4)Citation to the case (if you know):
10. Other than the direct appeals listed above, have you previously filed any other petitions, applications, or
motions concerning this judgment ofconviction in any state court?
         YesD

11. If your answer to Question ID was "Yes," give the foUowing information:
    (a) (1)Name of court:
        (2)Docket or case number(if you know):
        (3)Date of filing (if you know)
         (4)Nature ofthe proceeding
         (5)Grounds raised:




         (6)Did you rec^e a hearing where evidence was given on your petition, application, or motion?
                   Yes I |n<
         (7)Result:
         (8)Date ofresult(if you know):
    (b)If you filed any second petition, application, or motion, give the same inform^
         (1)Name of court:
         (2)Docket or case number(if you know):
         (3) Date of filing (if you know):
         (4)Nature of the proceeding:
         (5) Grounds raised:
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                                                                                                              Page 5




      (6)Did you receive a hearing where evidence was given on your petition, application, or motion?
                YesDNoD
      (7)Result:
      (8)Date of result (if you know):
  (c)If you filed any third petition, application, or motion, give the same information:
      (1)Name of court:
      (2)Docket or case number(if you know):
      (3)Date of filing (if you know):
      (4)Nature of the proceeding:
      (5)Grounds raised:




       (6)Did you receive a hearing where evidence was given on your petition, application, or motion?
                 VeONo
       (7)Result:
       (8)Date of result(if you know):
   (d) Did you appeal to the highest state court havingjurisdiction over the action taken on your petition,
  'application, or motion?
       (1) First petition:         Yes      No

       (2) Second petition:        Ves      No

       (3) Third petition:         Yes       No

   (e) If you did not appeal to the highest state court having Juri^ction, explain why you did not:
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                                                                                                               Page 6


12. For this petition, state every ground on which you claim that you are being held in violation ofthe Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
supporting each ground.


    r At ITION: To proceed in the federal court, vou must ordinarilv first exhaust fuse up) your available state-court
              nn each ground on which vou request action bv the federal court. Also, if you fail to set forth all the
    ^niinds in this Petition, vou mav be barred from presenting additional grounds at a later date.

GROUND ONE;



(a) Supporting facts(Do not argue or cite law. Just state the specific facts that support your claim.): J_JaM5             ;

                                      WWe.r                 a           (A/Kr^ry/T CAn~MO'^                       —




(b)If you did not exhaus^your state remedies on Ground One,explain why:



(c) Direct Appeal ofGround One:
     (IJ If vou appealed from thejudgment of conviction, did you raise this issue?
          Yel^NO
     (2) If you did not raise this issue in your direct appeal, explain why:


 (d)Post-Conviction Proceedings:
     (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
           YeQn<Q
     (2)If your answer to Question (d)(1) is "Yes,"state:
      Type of motion or petition:
      Name and location of the court where the motion or petition was filed

      Docket or case number(if you know)
      Date of the court's decision:
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   Result(attach a copy ofthe court's opinion or order, if availabl



   (3) Did you receive a hearing on your motion oppetition?
        Yesl 1 Ncl I
   (4)Did you appeal from the denial of/Jiir motion or petition?
       Yea I nJ I                  /
   (5)If your answer to Questiony(a)(4) is "Yes," did you raise this issue in the appeal?
        YeQncQ
   (6)If your answer to Q^tion (d)(4) is "Yes," state:
    Name and location ofi4he court where the appeal was filed:


    Docket or case lyfimber(if you know):
    Date of the court's decision:

    Result(attach a copy ofthe court's opinion or order, if available):



   (7)If your answer to Question {d)(4)or Question(d)(5)is "No."/xpiain why you did not raise this issue:




(e) Other Remedies: Describe any otoer prpcediir«^ch as halreas corpus,administrative remedies,etc.) that
    you have used to exhaust your state remedies omGround One:




GROUND TWO



(a) Supporting factWoo not argue or cite law. Just state the specific facts that si^rt your clairnJ:I-QUS
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                             Q\)V\6)Ki^
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                                                                                                              Page 8


(b)If you did not exhaust your state remedies on Ground Two,explain why:




(c) Direct Appeal of Ground Two;
    (1) If you appealed from the judgment of conviction, did you raise this issue?
         YesP^NoO
    (2)If you did not raise this issue in your direct appeal, explain why:



(d)Post-Conviction Proceedings:
    (1) Did you raise this issue through a post-conviction motion or petition for habeas corpi^m a state trial court?
         YelZlNolZ]
    (2)If your answer to Question (d)(1)is "Yes,"state:
     Type of motion or petition:
     Name and location ofthe court where the motion or petition was filed:


     Docket or case number(if you know):
     Date of the court's decision:
     Result(attach a copy ofthe court's opinion or order, if available):



     (3)Did vou receive a hearing on your motion or petition?
          YeOND "                                       ^
     (4) Did you appeal from the denial of your motion or p^ition?
          YeJ I N(j I
     (5)If your answer to Question (d)(4) is "Yes," didy^ou raise this issue in the appeal?
          Yeo~o
     (6) I f your answer to Question (d)(4) is "Yes,Vstate:
      Name and location of the court where the appeal was filed:


      Docket or case number(if you know):
      Date of the court's decision:
      Result(attach a copy ofthe court's opinion or order, if available):
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    (7)If your answer to Question (d)(4)or Question (d)(5) is"No," explain wJ>/you did not raise this issue.




(e) Other Remedies: Describe any other procedures(sucl^ habeas corpus, administrative remedies, etc.) that
    you have used to exhaust your state remedies on G^nd Two:




GROUND THREE



(a)Supporting facts(Do not argue or cite iaw. Just state the specific facts that support your ciaim ):


                 W1
                                              •^n^m V-mCTv
 i.kn
    If you did not exhaust your state remedies on Ground Three, explain why



 (c) Direct Appeal of Ground Three:
     (1)If vou appealed from the judgment of conviction, did you raise this issue?
          YeJty Nof^
     (2) If you did not raise this issue in your direct appeal, explain why;


 (d)Post-Conviction Proceedings:
      (1)Did you raise this issue through a post-copyl^on motion or petition for habeas corpus in a state trial court?
          YeseunoCi
      (2)If your answer to Question(^)(f) is "Yes," state:
      Type of motion or petition:
      Name and location of tbdcourt where the motion or petition was filed:
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                                                                                                            Page 10


   Docket or case number(if you know):
   Date of the court's decision;

   Result(attach a copy ofthe court's opinion or order, if available):



   (3)Did vou receive a hearing on your motion or petition?
        Yell]Nol I
   (4)Did vou appeal from the denial of your motion or petition?i
        v,n».n
   (5)If your answer to Question (d)(4)is "Yes," did you c^se this issue in the appeal?
        YcsDnoD
   (6)If your answer to Question (d)(4)is "Yes," s^e:
    Name and location of the court where the appeal was filed:


    Docket or case number(if you know):
    Date of the court's decision:

    Result(attach a copy ofthe court^opinion or order, if available):


    (7)If your answer to Qu^ion (d)(4)or Question (d)(5) is"No," explain why you did not raise this issue:




(e) Other Remraies: Describe any other procedures(such as habeas corpus, administrative remedies,etc.) that
    you have ireed to exhaust your state remedies on Ground Three:




nnmiNncmiR: Lf
                                                         ^                                                              .
(a)Supporting facts(Do not argue or cite law. Just state the specific facts that support your claiim): A>rv
^                                                                 •\y\«^_lAAA *f f\/^ A \y%'\ i 1   V r"         ^      j

                    --Hap                                l                                                            ^ i
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                                                                                                           Page 11




(b)If you did not exhaust your state remedies on ^ound Four, explain why




(c) Direct Appeal of Ground Four:
    (1)If yogappealed from the judgment of conviction, did you raise this issue?
         Yes^NoEH
    (2)If you did not raise this issue in your direct appeal, explain why:

(d)Post-Conviction Proceedings:
    (1)Did vou raise this issue through a post-conviction motion or petition for habeas corpus in/state trial court?
          vr]»n
     (2)If your answer to Question (d)(1) is "Yes," state:
     Type of motion or petition:
     Name and location ofthe court where the motion or petition was filed:

     Docket or case number(if you know):
     Date of the court's decision
      Result(attach a copy of the court's opinion or order, if available^


     (3)Did you receive a hearing on your motion or petition^
           Yesj^nNoi \
     (41 Did vou appeal from the denial of your motioiy6r petition?

      (5)If your answer to Question(d)(4)is"Y^"did you raise this issue in the appeal?
           YesDnoCZI
      (6)If your answer to Question (d)(4)/rs "Yes," state:
      Name and location ofthe court wKere the appeal was filed:

      Docket or case number(if^ou know)
       Date of the court's de^ion
       Result(attach a copy of the court's opinion or order, if available):
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                                                                                                              Page 12




    (7)If your answer to Question (d)(4) or Question (d)(5) is "No/explain why you did not raise this issue:




(e) Other Remedies: Describe any other pij^dures(such as habeas corpus, administrative remedies, etc.) that
     you have used to exhaust your state^^edies on Ground Four:




 13. Please answer th^additional questions about the petition you are filing:
    (a) Have all gt^unds for relief that you have raised in this petition been presented to the highest state court
         havingjurisdiction?         Ye|!^l No! I
         If your answer is "No,"state which grounds have not been so presented and give your reason(s)for not
          presenting them:




     (b)Is there any ground in this petition that has not been presented in some state or federal court? Ifso, which
     ground or grounds have not been presented, and state your reasons for not presenting them:                        ■



 14. Have you previously filed any type of petition application, or motion in a federal court regarding the conviction
 that you challenge in this petition? Yes| |NoI V\l
      If"Yes," state the name and location of the court, the docket or case number,the type of proceeding, the issues
      raised, the date ofthe court's decision, and the result for each petition, application, or motion filed. Attach a
     copy of any court opinions or orders, if available.                                                              ——
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                                                                                                               Page 13


15. Do you have any petition or appeal now pending (fileiand not decided yet) in any court, either state or federal.
for the judgment you are challenging?        Yes       No

     If"Yes," state the name and location ofthe court, the docket or case number, the type of proceeding, and the
     issues raised.                                                               —




 16. Give the name and address, if you know,of each attorney who represented you in the following stages of the
judgment you are challenging:                \          \            ^^4.             (r \fl        f\
    (a) At preliminary hearing:
                          .Itk'. 4--^
                                 4r<;b I .,(?V7Sg.K.llAY)
                                           {V^I^IiaY)                         I         ^^ pp
    (b) At arraignment


     ....,.,1 A\                  t                                      fe               C ft

     (d) At sentencing
                   ing:
                                                                         u
     (e)On appeal: V4^ /Ui/|
                       AiftAl/l ^                  I            jTVyp. I
     (f)In any post-conviction proceeding:


     (g)On appeal from any ruling against you in a post-conviction proceeding.           1^/a

 17. Do you have any future sentence to serve after you complete the sentence for the judgment that you are
 challenging?             YesI I No
     (a) Ifso, give name and location of court that imposed the otlj</sentence you will serve in the future:


     (b)Give the date the other sentence was impos^
     (c) Give the length of the other sentence:
     (d)Have you flle^do polan to f^ny petition that challenges thejudgment or sentence to be served in
      the   future? YesUnoU
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                                                                                                              Page 14


18. TIMELINESS OF PETITION: If yourjudgment of conviction became final over one year ago, you must
explain why the one-year statute of limitations as contained in 28 U.S.C.§ 2244(d)does not bai^our petition."




                                                                          z




                               T




 •The Antitenorism and Effective Death Penalty Act of 1996("AEDPA")as contained in 28 U.S.C.§ 2244(d)
 provides in part that:

     (1) A 1-year period of limitation shall apply to an application for a writ of habeas corpus by a person in custody
     pursuant to the Judgment of a State court. The limitation period shall run from the latest of--
         (A)the date on which the Judgment became final by the conclusion of direct review or the expiration of the
          time for seeking such review;                                                     .   •    • . a-
          (B)the date on which the impediment to filing an application created by State action in violation of the
          Constitution or laws of the United States is removed, if the applicant was prevented from filing by such
          st3.t6 flction*
          (C)the date on which the constitutional right asserted was initially recognized by the Supreme Court, if the
          right has been newly recognized by the Supreme Court and made retroactively applicable to cases on
          collateral review; or                                                       , ,..        u
          (D)the date on which the factual predicate ofthe claim or claims presented could have been discovered
           through the exercise of due diligence.                                                   „. ,      •
     (2)The time during which a properly filed application for State post-conviction or other collateral review with
      respect to the pertinentJudgment or claim is pending shall not be counted toward any period oflimitation under
      this subsection.
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                                                                                                                  Page 15


   Therefore,  petitioner asKs
       reiore, petitioner asks inai
                               that the Court gram
                                    me i^oun  grant the
                                                    ujc following
                                                        luuw^iug reiiefp^    ^v        r.Mi..^
                                                                                             ^




   or any other relief to which petitioner may be entitled.




                                                                Signature of Attorney (if any)




   1 declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and
   Petition for Writ of Habeas Corpus was placed in the prison mailing system on                        Mf?
                                                                                                        |   /CQ I P
                                                       (month, date, year).




    Executed (signed)on                                          (date)




    Ifthe person signing is not petitioner, state relationship to petitioner and explWwhy petitioner is not signing
    this petition                               ^                                                    "'
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